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                                    ID #:3138


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  4
      Attorneys For Plaintiffs and Judgment Creditors
  5   Big Bird Holdings, LLC and Jonathan David Parker
  6

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  8                     UNITED STATES DISTRICT COURT
  9     CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
 10   DAVID PARKER and BIG BIRD                  CASE NO.: 8:12-cv-01994-DOC-JCG
      HOLDINGS, LLC,
 11
                  Plaintiffs,                    NOTICE OF ASSIGNMENT OF
 12   vs.                                        JUDGMENT
 13   ALEXANDER MARINE CO., LTD.,
 14               Defendant.
 15

 16

 17         TO THE COURT AND ALL INTERESTED PARTIES:
 18         Attached hereto as Exhibit “A” and incorporated herein by reference is the
 19   Acknowledgment of Assignment of Judgment Pursuant to California Code of Civil
 20   Procedure Section 673, assigning the Judgment awarded to Plaintiff and Judgment
 21   Creditor Big Bird Holdings, LLC previously entered herein to Jonathan David
 22   Parker
 23

 24   Dated: October 24, 2024         By: _____________________________
 25
                                                    D. Jason Davis
                                      Attorneys for Plaintiffs and Judgment Creditors
 26
                                      Jonathan David Parker and Big Bird Holdings,
                                      LLC
 27

 28



                                NOTICE OF ASSIGNMENT OF JUDGMENT
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                                 ID #:3139




              EXHIBIT A
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                                     ID #:3140


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  8                      UNITED STATES DISTRICT COURT
  9     CENTRAL DISTRICT OF CALIFORNIA – SOUTHERN DIVISION
 10   DAVID PARKER and BIG BIRD                   CASE NO.: 8:12-cv-01994-DOC-JCG
      HOLDINGS, LLC,
 11
                   Plaintiffs,                    ACKNOWLEDGEMENT OF
 12   vs.                                         ASSIGNMENT OF JUDGMENT
                                                  PURSUANT TO CALIFORNIA
 13   ALEXANDER MARINE CO., LTD.,                 CODE OF CIVIL PROCEDURE
                                                  SECTION 673
 14                Defendant.
                                                  [Filed Concurrently with Declaration
 15                                               of Jonathan David Parker in Support of
                                                  Acknowledgement of Assignment]
 16

 17

 18

 19
 20         TO THE COURT AND ALL INTERESTED PARTIES:
 21         PLEASE TAKE NOTICE that Plaintiff and Judgment Creditor Jonathan
 22   David Parker does hereby acknowledge assignment, by way of the Assignment and
 23   Acceptance Agreement between Jonathan David Parker and Big Bird Holdings,
 24   LLC, of all right, title and interest to the Judgment in favor of Big Bird Holdings,
 25   LLC against Defendant and Judgment Debtor Alexander Marine Co., Ltd. entered
 26   and filed in this matter on February 2, 2015 (Doc. 103), as amended on March 21,
 27   2019 (Doc. 206 and 207) and September 3, 2024 (Doc. 221), plus any future
 28   modifications and renewals thereof. No renewals of the judgment have been

                        ACKNOWLEDGEMENT OF ASSIGNMENT OF JUDGMENT
                   PURSUANT TO CALIFORNIA CODE OF CIVIL PROCEDURE SECTION 673
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                                           ID #:3141



     1   entered.
     2          Big Bird Holdings, LLC, as Assignor, hereby acknowledges that it has
     3   assigned all its right, title and interest in the above-referenced judgment to
     4   Jonathan David Parker, as Assignee.
     5          The name of the Judgment Creditor in the above-entitled action is:
     6
         Big Bird Holdings, Inc
     7   1605 Via Montemar
         Palos Verdes Estates, CA 90274
     8
                The name and last known address of the Judgment Debtor in the above-
     9
         entitled action is:
    10
         Alexander Marine Co., Ltd.
    11   No. 1 Jin Fu Road
         Qian-Zhen District Kaohsiung, Taiwan 806
    12
                The name and address of the Assignee of this judgment is:
    13
         Jonathan David Parker
    14   1605 Via Montemar
         Palos Verdes Estates, CA 90274
    15
                The rights represented by this judgment that are assigned to the assignee,
    16
         Jonathan David Parker, are for a money judgment, including, the rights of the
    17
         assignor, Big Bird Holdings, LLC, to receive payments in satisfaction of the
    18
         judgment and all other rights under the judgment. This is an assignment of the full
    19
         amount of the judgment in the sum of $4,204,593.96 with accrued interest thereon
    20
         at the legal rate from and after the date of entry of this judgment.
    21

    22
                I declare under penalty of perjury under the laws of the Unites States of
    23

    24   America that the foregoing is true and c o r r e ~ ~

    25
         Dated: October 24, 2024                               c ..~ - < - - - - --
    26
                                                                Jonathan David Parker
    27                                                          Manager of Big Bird Holdings, LLC
    28

                                                           2
                                    ACKNOWLEDGEMENT OF ASSIGNMENT OF JUDGMENT
                               PURSUANT TO CALIFORNIA CODE OF CJVJL PROCEDURE SECTlON 673
Case 8:12-cv-01994-DOC-JCG       Document 223-2       Filed 10/24/24   Page 5 of 5 Page
                                     ID #:3142


  1                             CERTIFICATE OF SERVICE
  2
             Pursuant to Local Rule, I, the filer of this document, attest that all other
  3   signatories listed, and on whose behalf the filing is submitted, concur in the filing’s
  4   content and have authorized the filing. I certify that on October 24, 2024, I
      electronically filed the foregoing NOTICE OF ASSIGNMENT OF JUDGMENT
  5   with the Clerk of the Court for the United States District Court, Central District of
  6   California, by using the CM/ECF system. Participants in the case who are
      registered CM/ECF users will be served by the CM/ECF system.
  7

  8

  9
       Dated: October 24, 2024                 DAVIS LAW OFFICE
 10

 11                                            By:   /s/ D. Jason Davis
                                                  D. Jason Davis, Esq.
 12                                            Attorneys for Plaintiffs and Judgment
                                               Creditors Big Bird Holdings, LLC and
 13                                            Jonathan David Parker
 14

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                                   NOTICE OF ASSIGNMENT OF JUDGMENT
